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FINAZZO COSSOLINI 67 East Park Place, Suite 901

Hy 'a O'LEARY MEOLA Morristown, NJ 07960
InaZZO & HAGER, LLC Main (973) 343-4960
Fax (973) 343-4970

C O S S ol inl www. finazzolaw.com

New York Office

. § Penn Plaza, 23rd Fl,

Brandon L., Sipple, Esq, New York, NY 10001
brandon. sipple@finazzolaw.com Main (646) 378-2033
Direct Diak: (973) 343-4974 Fax (646) 378-2001

November 4, 2024

Via ECF

Honorable Rukhsanah L. Singh, U.S.M.J.

United States District Court, District of New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street, Courtroom 7W

Trenton, New Jersey 08608

Re: Avraham Lebovtiz vy. AmMGUARD Insurance Company
Civil Action No.: 3:24-cv-00399-MAS-RLS

Dear Judge Singh:

This firm represents Defendant/Third-Party Plaintiff AmGUARD Insurance Company
(“AmGUARD”) in the above-referenced action, Pursuant to the Court’s Letter Order dated August
27, 2024, we are writing to provide the Court with a Joint Status Letter on behalf of AMGUARD,
Plaintiff Avraham Lebovitz and Third Party Defendant, U.S, Bank Trust Company, National
Association, not in its individual capacity, but solely as trustee on behalf of GCAT 2023-0NQM2
Trust (the “Trust’”). The parties would also like to take this opportunity to respectfully request a
sixty (60) day extension of all currently existing discovery deadlines entered by this Court.

AmGUARD filed a Third-Party Complaint joining the Trust to this action on May 22,
2024, and the Trust filed its Answer to the Third-Party Complaint on July 12, 2024. A
Confidentiality Order was filed on August 21, 2024 to facilitate the completion of written
discovery amongst the parties. Upon further information from the Trust, AMGUARD intends to
file a motion pursuant to Federal Rules of Civil Procedure 67, in order to deposit the funds in
dispute with this Court,

To date, the parties are working to complete written discovery and proceed with
depositions in this matter, Plaintiff and AmGUARD have exchanged their initial disclosures and
written discovery requests. AmGUARD has served its written discovery responses to Plaintiff's
discovery requests, and also produced over 2,000 pages of documents in response to same. The
Trust is preparing to serve its Rule 26 Disclosures on the parties, as well as its affirmative discovery
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requests, Plaintiffis working to finalize its discovery responses and accompanying production in
response to AMGUARD’s discovery demands,

AmGUARD has also sought to serve third-party discovery, by way of subpoena duces
fecum, on three separate entities. AmGUARD has successfully served one of these entities, and
that entity’s response is currently due by November 14, 2024. AmGUARD is awaiting
confirmation from Plaintiff's counsel that he will accept service on behalf of the other two; as
Plaintiffs Rule 26 Disclosures direct communications to Plaintiffs counsel for these two entities,

AmGUARD has further noticed the depositions of Plaintiff and Plaintiff's wife, Perla
Lebovitz. However, proceeding with these depositions will be contingent on the receipt of
Plaintiff's discovery responses and accompanying document production (with sufficient time to
review same), as well as coordinating dates and times that are mutually convenient for all parties.

Pursuant to the Court’s August 27, 2024 Order, the current discovery deadlines are as
follows.

e Fact discovery shall remain open through November 19, 2024.

¢ Plaintiff shall serve any expert report(s) by no later than January 13, 2025.

e¢ Defendant shall serve any expert report(s) by no later than February 12, 2025.

* All expert discovery shall be completed by no later than March 17, 2025,

In light of the discovery left to be conducted in this matter, and with the consent of all
parties, the parties respectfully request a sixty (60) day extension to the current discovery deadlines
as follows.

¢ Fact discovery shall remain open through January 18, 2025,

* Plaintiff shall serve any expert report(s) by no later than March 14, 2025.

* Defendant shall serve any expert report(s) by no later than April 14, 2025,

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e All expert discovery shall be completed by no later than May 15, 2025,

_ The requested extensions should provide the parties sufficient time to complete the
outstanding discovery and proceed into expert discovery.
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We thank Your Honor for your time and attention to this matter,
Respectfully submitted,
/s/ Brandon L. Sipple

BRANDON L. SIPPLE

cc! Robert T. Trautmann, Esq. (via ECF)
John E. Brigandi, Esq. (via ECF)

For good cause shown, the above extension
request is hereby GRANTED. The parties shall
file a joint status letter by no later than January
10, 2025.

SO ORDERED this 6th day of November 2024.

Pt

RUKHSAMAH L. SINGH, U.S.M.J.

